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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


 B.E. CAPITAL MANAGEMENT FUND LP,
 on behalf of itself and all others similarly
 situated,

                          Plaintiff,                      Case No. 17-311 GMS

           - against -

 FINANCIAL INDUSTRY REGULATORY
 AUTHORITY, INC. and THE DEPOSITORY
 TRUST COMPANY,

                          Defendants.



                                   SCHEDULING ORDER [Non-Patent]

                  This ___day of February, 2018, the Court having conducted a Rule 16 Conference

pursuant to Local Rule 16.2(b) on ______________________________,                and    the parties

having determined after discussion that the matter cannot be resolved at this juncture by

settlement, voluntary mediation or binding arbitration;

          IT IS ORDERED that:

          1.   Rule 26(a) Initial Disclosures: Unless otherwise agreed to by the parties, they shall

make their initial disclosures pursuant to Federal Rules of Civil Procedure 26(a) no later than

30 days following the entry of a final order denying the motions to dismiss by defendants

Financial Industry Regulatory Authority, Inc. and The Depository Trust Company (the “Order

Date”).

          2.    Joinder of other Parties and Amendment of Pleadings: The parties have agreed

that there will be no motions to join other parties and amend the pleadings.
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        3.    Discovery: No discovery in this case shall be initiated before the Order Date, 2

and any discovery that does occur shall be completed within eight (8) months of the Order

Date.

        a.          Discovery and Scheduling Matters: Should counsel find they are unable

to resolve a discovery or scheduling matter, the party seeking the relief shall contact chambers

at (302) 573-6470 to schedule a telephone conference. Not less than forty-eight hours prior to

the teleconference, the parties shall file with the court, via electronic means (CM/ECF), a

Joint Letter Agenda, which is non-argumentative, not to exceed two (2) pages outlining the

issue(s) in dispute. A sample letter can be located on this court’s website at

www.ded.uscourts.gov. After the parties have had three (3) discovery teleconferences, they will

be required to file a joint letter showing good cause why the court should permit a fourth

discovery teleconference. Should the court find further briefing necessary upon conclusion of

the telephone conference, unless otherwise directed, the party seeking relief shall file with

the court a TWO PAGE LETTER, exclusive of exhibits, describing the issues in contention.

The responding party shall file within five (5) days from the date of service of the opening

letter an answering letter of no more than TWO PAGES. The party seeking relief may then

file a reply letter of no more than TWO PAGES within three (3) days from the date of service

of the answering letter.

        4.     Confidential Information and Papers filed under Seal: Should counsel find

it will be necessary to apply to the court for a protective order specifying terms and conditions

for the disclosure of confidential information, they should confer and attempt to reach an

agreement on a proposed form of order and submit it to the court within ten (10) days from the

date of this order. When filing papers under seal, counsel should deliver to the Clerk an
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original and two copies of the papers.

        If, after making a diligent effort, the parties are unable to agree on the contents of

the joint, proposed protective order, then they shall follow the dispute resolution process

outlined in paragraph 3(a).

        5.     Settlement Conference: The parties being in agreement that this matter does not

lend itself to alternative dispute resolution because the issues presented herein are entirely binary

in nature, the Settlement Conference hereby is waived.

        6.     Case Dispositive Motions: The parties have fully briefed case dispositive

motions by the Defendants, which motions are pending before the Court.

        7.      Applications by Motion: Except as provided in this Scheduling Order or for

matters relating to scheduling, any application to the Court shall be by written motion filed, via

electronic means (CM/ECF). Unless otherwise requested by the Court, counsel shall not deliver

copies of papers or correspondence to Chambers. Any non-dispositive motion should contain

the statement required by Local Rule 7.1.1.

        8.     Oral Argument. If the Court believes that oral argument is necessary, the Court

will schedule a hearing Pursuant to Local Rule 7.1.4.

        9.   Pretrial Conference. On a date and time to be set by the Court within 90 days after

the Order Date, the Court will hold a Pretrial Conference, in Chambers for Jury trials and via

telephone for Bench trials, with counsel. Unless otherwise ordered by the Court, the parties

should assume that filing the Joint Pretrial Order satisfies the pretrial disclosure requirement in

Federal Rule of Civil Procedure 26(a)(3). A sample form of Pretrial Order can be located on

this court=s website at www.ded.uscourts.gov. Thirty (30) days before the Joint Proposed

Pretrial Order is due, plaintiff’s counsel shall forward to defendant’s counsel a draft of the pretrial
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order containing the information plaintiff proposes to include in the draft. Defendant’s counsel4

shall, in turn, provide to plaintiff’s counsel any comments on the plaintiff’s draft, as well as the

information defendant proposes to include in the proposed pretrial order. Motions in limine1:

NO MOTIONS IN LIMINE SHALL BE FILED; instead, the parties shall be prepared to

address their evidentiary issues at the Pretrial Conference and during trial (before and after

the trial day). The parties shall file with the court the joint Proposed Final Pretrial Order in

accordance with the terms and with the information required by the form of Final Pretrial Order,

which can be located on this court’s website at www.ded.uscourts.gov on or before 30 days after

the pretrial conference.

         10.      Trial. The Court will schedule any trial that might be necessary in consultation

with the parties if an Order Date occurs.

         11.         Scheduling: The parties shall contact chambers, at (302) 573-6470, only in

situations where scheduling relief is sought and only then when ALL participating counsel is on

the line for purposes of selecting a new date.



Dated: February ____, 2018
                                              ___________________________________________
                                              UNITED STATES DISTRICT COURT JUDGE




        1 The parties should simply list, in an Exhibit to be attached to the Pretrial Order, the issues under a
heading such as “Plaintiff’s [name of party] List of Evidentiary Issues It Intends to Raise.”
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                                   EXHIBIT A


                               PROPOSED DEADLINES




                       Event                            Deadline




      Pretrial Order
      Pretrial Conference
      Trial
